Case 2:20-cv-11181-CAS-JPR Document 93-1 Filed 10/10/22 Page 1 of 2 Page ID #:1707




    1
    2
    3
    4
    5                       UNITED STATES DISTRICT COURT
    6                     CENTRAL DISTRICT OF CALIFORNIA
    7
    8
      NEMAN BROTHERS & ASSOC.,                 Case No. 2:20-cv-11181-CAS-JPRC
    9 INC., a California Corporation,
   10                                          [PROPOSED] ORDER GRANTING
                   Plaintiff,                  JOINT APPLICATION TO
   11                                          CONTINUE FILING DEADLINES
   12        v.
                                               The Hon. Christina A. Snyder
   13 INTERFOCUS, INC. d.b.a.
   14 www.patpat.com, a Delaware
      Corporation; CAN WANG, and
   15 individual, and DOES 1-10, inclusive.,
   16
                   Defendants.
   17
   18
      INTERFOCUS, INC. d.b.a.
   19 www.patpat.com, a Delaware
   20 Corporation; CAN WANG, an
      individual, and DOES 1-10, inclusive,
   21
   22              Counterclaim Plaintiffs,
   23        v.
   24
      NEMAN BROTHERS & ASSOC.,
   25 INC., a California Corporation,
   26
                   Counterclaim Defendant.
   27
   28
Case 2:20-cv-11181-CAS-JPR Document 93-1 Filed 10/10/22 Page 2 of 2 Page ID #:1708




    1        The Court having reviewed the Joint application to continue filing deadlines,
    2 and good cause appearing,
    3        IT IS ORDERED that the parties may file the supplemental briefs previously
    4 ordered by the Court as follows:
    5        1) Allowing InterFocus up to and including October 27, 2022 to file a
    6 supplemental brief herein;
    7        2) Allowing Neman Brothers up to and including November 15, 2022 to file
    8 any responsive brief herein;
    9        3) Allowing InterFocus up to and including November 30, 2022 to file any
   10 reply brief herein.
   11        4. This joint request is not interposed for purposes of delay.
   12
   13
        Dated:                                ________________________________
   14                                         The Honorable Christina A. Snyder
   15                                         United States District Judge
   16
   17
   18
   19
   20
   21
   22
   23
   24
   25
   26
   27
   28
